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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

x

IN RE TERRORIST ATTACKS ON SEPTEMBER 11, 2001 :

MOTION TO PERMIT
ATTACHMENT AND
EXECUTION PURSUANT
TO 28 U.S.C. §1610(c)

03 MDL 1570 (GBD) (SN)

This Document Relates to
Hoglan, et al. y. Iran, et al.
1:11-ev-07550 (GBD) (SN)

EXHIBIT

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United States Department of State

Washington, D.C. 20520

August 27, 2019
Ruby J. Krajick
Clerk of the Court
United States District Court
Southern District of New York
500 Pearl St.
New York, NY 10007

Re: Hoglan, et al. v. Iran, et al., 1:11-CV-07550

Dear Ms. Krajick:

I am writing regarding the Court’s January 25, 2019 request for transmittal of letters
rogatory seeking assistance in serving documents on Ayatollah Ali Hoseini Khamenei, Supreme
Leader of Iran; Ali Akbar Hashemi Rafsanjani, Chairman, Expediency Discernment Counsel and
former President of Iran; National Iranian Tanker Corporation; National Iranian Oil Corporation;
National Iranian Gas Corporation; National Iranian Petrochemical Company; Iran Airlines; and,
Hezbollah as defendants in the above referenced lawsuit.

Because the United States does not maintain diplomatic relations with the Government of
Iran, the Department of State is assisted by the Foreign Interests Section of the Embassy of
Switzerland in Tehran in transmitting letters rogatory to the Iranian Ministry of Foreign Affairs.
The letters rogatory were transmitted to the Iranian Ministry of Foreign Affairs under cover of
diplomatic notes No. 1058-IE, No. 1059-IE, No. 1060-IE, No. 1061-IE, No. 1062-IE, No. 1063-
TE, No. 1064-IE, and No. 1065-IE, dated July 15, 2019. The delivery of these notes and their
attachments was attempted on July 17, 2019, but the Iranian Ministry of Foreign Affairs refused
their acceptance. Certified copies of these diplomatic notes are enclosed.

Sincerely,

Za

Jared Hess
Attorney Adviser
Overseas Citizens Services
Office of Legal Affairs

Ce:

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Timothy B. Fleming

Wiggins Childs Quinn & Pantazis LLC
1850 M Street, NW

Suite 720

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